    Case 3:21-cv-06118-JD    Document 10-1   Filed 09/22/21   Page 1 of 2




           Appellate Division of the Supreme Court
                     of the State of New York
                   Second Judicial Department


     I, Maria T. Fasulo, Acting Clerk of the Appellate Division of
the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                            Antony L. Ryan
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 2, 1997,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of Brooklyn on
                              September 20, 2021.




                                    Acting Clerk of the Court


CertID-00032425
       Case 3:21-cv-06118-JD        Document 10-1         Filed 09/22/21   Page 2 of 2

                                     Appellate Division
                            Supreme Court of the State of New York
                                 Second Judicial Department
                                      45 Monroe Place
                                   Brooklyn, N.Y. 11201
                                         (718) 875-1300
 HECTOR D. LASALLE                                                         DARRELL M. JOSEPH
    PRESIDING JUSTICE                                                          DEPUTY CLERKS

  MARIA T. FASULO                                                            KENNETH BAND
ACTING CLERK OF THE COURT                                                  MELISSA KRAKOWSKI
                                                                             WENDY STYNES
                                                                           ASSOCIATE DEPUTY CLERKS
                                                                               January 7, 2005

To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


         New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


         Instructions, forms and links are available on this Court's website.




                                                   Maria T. Fasulo
                                                   Acting Clerk of the Court




Revised August 2021
